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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA


In re:


AMAN CHAUDHARY                                                        Case No. 17-24749-RBR
                                                                      Chapter 7


                      DEBTOR(S)         /


   TRUSTEE’S LIMITED OBJECTION TO MOTION FOR STAY RELIEF FILED BY
                  CREDITOR BANK OF AMERICA, N.A.


          Trustee Sonya Salkin, by and through her undersigned counsel, hereby files this Limited

Objection to the Motion for Relief from Stay [ECF# 14] (the “Motion”) filed by creditor Bank of

America, N.A. The Trustee is investigating the facts and circumstances surrounding this case

generally, and has recently received valuation information relevant to such inquiries. The 341

meeting in this case just concluded on February 8, 2018. Accordingly the Trustee asks that any

stay relief granted to the movant have a delayed effectiveness of sixty (60) days. The Trustee will

consult with Bank of America, N.A. in good faith to expedite an even prompter resolution of this

matter.

                                                            By: /s/ Mark Bonacquisti, Esq.
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